Case 6:24-cr-00207-JSS-LHP Document 64 _ Filed 05/15/25 Page 1 of 5 PagelD aes? tore

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

Vv

Case Number: 6:24-cr-207-JSS-LHP

ANGEL VELAZQUEZ DELGADO USM Number: 28142-511

Briana Nicole Fosah, Retained
189 S. Orange Ave

Suite 810

Orlando, FL 32801

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One and Two of the Information. The defendant is adjudicated guilty of these

offenses:

Title & Section

18 U.S.C. §§ 932(b)(2) and
(2)

18 U.S.C. §§ 933(a)(1) and 2

Date Offense Count
Nature of Offense Concluded Numbers
Aiding and Abetting Straw Purchase of January 11, 2023 One
Firearms
Aiding and Abetting Firearms Trafficking September 6, 2023 Two

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material
change in the defendant's economic circumstances.

Date of Imposition of Sentence:
May 13, 2025

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JULJES. SNEED /
UNITED STATES DISTRICT JUDGE

may /4 2025

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 6:24-cr-00207-JSS-LHP Document 64 Filed 05/15/25 Page 2 of 5 PagelD 26°f°7""°

Angel Velazquez Delgado
6:24-cr-207-JSS-LHP

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of ONE HUNDRED EIGHT (108) MONTHS. This term consists of a 108 month term as to Counts One and Two, all
such terms to run concurrently.

The Court makes the following recommendations to the Bureau of Prisons:
1. Confinement as close to central Florida as possible for familial proximity
2. Participation in any job training regarding construction or crane operations that may be available
3. Participation in any educational opportunities that may be available

The defendant is remanded to the custody of the United States Marshal.

RETURN
| have executed this judgment as follows:
The defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

Deputy U.S. Marshal

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 6:24-cr-00207-JSS-LHP Document 64 Filed 05/15/25 Page 3 of 5 PagelD 26°"

Angel Velazquez Delgado
6:24-cr-207-JSS-LHP

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of THREE (3) YEARS. This term
consists of a 3 year term as to Counts One and Two, all such terms to run concurrently.

MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15

days of placement on supervision and at least two periodic drug tests thereafter as directed by the probation
officer. You must submit to random drug testing not to exceed 104 tests per year.
4. You must cooperate in the collection of DNA as directed by the probation officer.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions as follows.

AO 2458 (Rev. 09/19) Judgment in a Criminal Case
Case 6:24-cr-00207-JSS-LHP Document64 Filed 05/15/25 Page 4 of 5 PagelD 284°*"°

Angel Velazquez Delgado
6:24-cr-207-JSS-LHP

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
office or within a different time frame. After initially reporting to the probation office, the defendant will receive
instructions from the court or the probation officer about how and when the defendant must report to the probation
officer, and the defendant must report to the probation officer as instructed.

2, After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting

permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer

You must live at a place approved by the probation officer. If you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days

before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

fs You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer atleast 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, you must not knowingly communicate or interact with that person without
first getting the permission of the probation officer.

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9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon

(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchakus or tasers).

WAG You must not act or make any agreement with a law enforcement agency to act as a confidential human source
or informant without first getting the permission of the court.
12: If the probation officer determines that you pose a risk to another person (including an organization), the probation

officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
13; You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case 6:24-cr-00207-JSS-LHP Document 64 _ Filed 05/15/25 Page5 of 5 PagelD 2Bage 5 of 5

Angel Velazquez Delgado
6:24-cr-207-JSS-LHP

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. The defendant shall submit to a search of his or her person, residence, place of business, any storage units under
the defendant's control, or vehicle, conducted by the United States Probation Officer at a reasonable time and in
a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to a search may be grounds for revocation. The defendant shall inform any other
residents that the premises may be subject to a search pursuant to this condition.

2. The defendant shall cooperate in the collection of DNA, as directed by the probation officer.

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

neg : AVAA JVTA
Assessment Restitution Fine Assessment’ Assessment?
$200.00, due :
TOTALS immediately N/A Waived N/A NIA

SCHEDULE OF PAYMENTS

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the Clerk, U.S. District Court, unless otherwise directed by the court, the probation officer, or the
United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)

AVAA assessment (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.

' Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2 Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

AO 245B (Rev. 09/19) Judgment in a Criminal Case
